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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

 UNITED STATES OF AMERICA                   §
                                            §
                                            §
 v.                                         §      No. 1:24-MJ-00885-DH
                                            §
 (1) PHILIP TAYLOR SOBASH,                  §
 Defendant                                  §


                                        ORDER

      In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention

hearing has been held. I have considered the evidence and proffers presented during

the hearing, the pleadings on file, the recommendation of Pretrial Services, and the

four factors set out in the Bail Reform Act, 18 U.S.C. § 3142(g). In light of all of this,

I find that the record establishes (1) by a preponderance of the evidence that no

combination of conditions will reasonably assure the defendant’s presence as

required, and (2) by clear and convincing evidence that that no condition or

combination of conditions will reasonably assure the safety of any other person and

the community.

      The reasons for my decision include, in particular:

      •   the nature and circumstances of the offense charged, here, his serial sexual
          predation and exploitation of countless victims, including multiple minors;

      •   the weight of the evidence against the person, including financial records,
          electronic communications and files seized demonstrating his solicitation of
          child pornography directly from his victims, his payments to these victims,
          his sale of the child pornography he obtained by these means, and his
          threats to expose them if they did not provide him with more sexually
          explicit videos and pictures;


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      •   the history and characteristics of the person, including his lengthy history
          of engaging in the same sort of conduct giving rise to these charges;

      •   the nature and seriousness of the danger to any person or the community
          that would be posed by the person’s release as demonstrated by all of the
          above and as set out in the Government’s memorandum in support of its
          motion to detain, Dkt. 4; and

      •   finally, the operation of the presumption in 18 U.S.C. § 3142(e)(3)(E) that
          detention is needed because the crime charged is “an offense involving a
          minor victim under [18 U.S.C.] section[s] 2251, … 2252A(a)(2), [and] 2422”
          (which, even when rebutted, remains as a factor for the Court’s
          consideration).

This record establishes (1) by a preponderance of the evidence that no combination of

conditions will reasonably assure the defendant’s presence as required, (2) by clear

and convincing evidence that that no condition or combination of conditions will

reasonably assure the safety of any other person and the community.

                   DIRECTIONS REGARDING DETENTION

      Defendant is committed to the custody of the Attorney General or his

designated representative for confinement in a corrections facility separate, to the

extent practicable, from persons awaiting or serving sentences or being held in

custody pending appeal. Defendant shall be afforded a reasonable opportunity for

private consultation with defense counsel. On order of a court of the United States or

on request of an attorney for the Government, the person in charge of the corrections

facility shall deliver Defendant to the United States Marshal for the purpose of an

appearance in connection with a court proceeding.




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    SIGNED December 18, 2024.



                                 DUSTIN M. HOWELL
                                 UNITED STATES MAGISTRATE JUDGE




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